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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

ROBERT MCKENNEY,                          )
                                          )
              Plaintiff                   )
                                          )       2:16-cv-00630-JAW
v.                                        )
                                          )
OFFICER FARRINTON, et al.,                )
                                          )
              Defendants                  )

        RECOMMENDED DECISION AFTER SCREENING COMPLAINT
               PURSUANT TO 28 U.S.C. §§ 1915(e), 1915A

       In this action, Plaintiff Robert McKenney, an inmate detained in the Androscoggin

County Jail, alleges Defendants committed various violations of his constitutional rights,

including violations of his right to due process in connection with disciplinary proceedings

in the jail. (Complaint, ECF No. 1.) Plaintiff also requests a preliminary injunction.

(Statement of Claim at 4, ECF No. 1-1).

       Plaintiff has filed an application to proceed in forma pauperis (ECF No. 2), which

application the Court granted. (ECF No. 3.)      In accordance with the in forma pauperis

statute, a preliminary review of Plaintiff’s complaint is appropriate.         28 U.S.C. §

1915(e)(2). Additionally, Plaintiff’s complaint is subject to screening “before docketing,

if feasible or … as soon as practicable after docketing,” because he is “a prisoner seek[ing]

redress from a governmental entity or officer or employee of a governmental entity.” 28

U.S.C. § 1915A(a).
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       Following a review of the complaint and the attachments filed by Plaintiff, I

recommend the Court dismiss Plaintiff’s claims, except for Plaintiff’s claim of retaliation

based on the alleged denial of participation in a work program.

                                  STANDARD OF REVIEW

       When a party is proceeding in forma pauperis, “the court shall dismiss the case at

any time if the court determines,” inter alia, that the action is “frivolous or malicious” or

“fails to state a claim on which relief may be granted.” 28 U.S.C. § 1915(e)(2)(B).

“Dismissals [under § 1915] are often made sua sponte prior to the issuance of process, so

as to spare prospective defendants the inconvenience and expense of answering such

complaints.” Neitzke v. Williams, 490 U.S. 319, 324 (1989).

       In addition to the review contemplated by § 1915, Plaintiff’s complaint is subject to

screening under the Prison Litigation Reform Act because Plaintiff is currently incarcerated

and seeks redress from governmental entities and officers. See 28 U.S.C. § 1915A(a), (c).

The § 1915A screening requires courts to “identify cognizable claims or dismiss the

complaint, or any portion of the complaint, if the complaint (1) is frivolous, malicious, or

fails to state a claim …; or (2) seeks monetary relief from a defendant who is immune from

such relief.” 28 U.S.C. § 1915A(b).

       When considering whether a complaint states a claim for which relief may be

granted, courts must assume the truth of all well-plead facts and give the plaintiff the

benefit of all reasonable inferences therefrom. Ocasio-Hernandez v. Fortuno-Burset, 640

F.3d 1, 12 (1st Cir. 2011). A complaint fails to state a claim upon which relief can be

granted if it does not plead “enough facts to state a claim to relief that is plausible on its

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face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). “The relevant question

... in assessing plausibility is not whether the complaint makes any particular factual

allegations but, rather, whether ‘the complaint warrant[s] dismissal because it failed in toto

to render plaintiffs’ entitlement to relief plausible.’” Rodríguez–Reyes v. Molina–

Rodríguez, 711 F.3d 49, 55 (1st Cir. 2013) (quoting Twombly, 550 U.S. at 569 n. 14).

Although a pro se plaintiff’s complaint is subject to “less stringent standards than formal

pleadings drafted by lawyers,” Haines v. Kerner, 404 U.S. 519, 520 (1972), the complaint

may not consist entirely of “conclusory allegations that merely parrot the relevant legal

standard,” Young v. Wells Fargo, N.A., 717 F.3d 224, 231 (1st Cir. 2013). See also Ferranti

v. Moran, 618 F.2d 888, 890 (1st Cir. 1980) (explaining that the liberal standard applied to

the pleadings of pro se plaintiffs “is not to say that pro se plaintiffs are not required to plead

basic facts sufficient to state a claim”).

                                           BACKGROUND FACTS1

          On November 1, 2016, Plaintiff was transferred from Cumberland County Jail to

Androscoggin County Jail because jail administrators concluded Plaintiff had an

inappropriate relationship with a member of the staff at the Cumberland County Jail.

(Statement of Claim at 1, ECF No. 1-1, ¶ 1, PageID # 4.) Defendant Officer Farrinton,

described by Plaintiff as a programs officer, told Plaintiff he would not receive work

through the Androscoggin County Jail if the work would place him near women.

Defendant Farrinton allegedly called Plaintiff a “manipulator” and “predator.”               (Id.)


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    The facts set forth herein are derived from Plaintiff’s complaint.


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Plaintiff filed complaints with the jail about his interaction with Defendant Farrinton, but

Defendant Lieutenant Feldman returned the complaints and advised Plaintiff not to file

frivolous complaints or Plaintiff would be placed in segregation. (Id.)

        On November 24, 2016, Plaintiff received a disciplinary write-up for assault. At a

subsequent hearing on the matter, the disciplinary board found him guilty and sentenced

him to 10 days in segregation. (Id. ¶ 2.) Defendant Farrinton was the chairperson of the

board. (Id.) Plaintiff also asserts Defendant Farrinton informed him that as part of the

discipline, he would not be permitted to work for the balance of his sentence. (PageID #

6.) At the hearing, Plaintiff was not permitted to call witnesses, or review the officer’s

reports or the alleged victim’s statement. (Id.) Defendants Officer Stone and Corporal

Prosser, who were present at the hearing, did not intervene when Plaintiff objected to

Defendant Farrinton’s participation and his violation of Plaintiff’s constitutional rights.

(Id.)

        Plaintiff also asserts that when he complained to the jail about certain insults,

including that he was a “rapist dirtbag,” made by a corrections officer, Defendant Farrinton

informed him the alleged insults did not support a complaint. (PageID # 6.) In addition,

Plaintiff maintains Defendant Farrinton denied Plaintiff credit for work Plaintiff performed

in November 2016 (PageID # 10), and denied Plaintiff good time credit for Plaintiff’s work

in November. (PageID # 11.) According to Plaintiff, when he complained about the good

time, Defendant Farrinton determined the complaint was frivolous, and threatened Plaintiff

with disciplinary action if Plaintiff continued to file such complaints. (Id.)



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       Plaintiff alleges that before he filed this action, he wrote numerous requests to

Defendants Stone and Farrinton for the services of a notary public, law materials, and

access to a copier. The requests were ignored. (PageID # 12.)

       In his motion for preliminary injunction, Plaintiff asks the Court to transfer him

back to the Cumberland County Jail. (PageID # 7.) Plaintiff also asks the Court to direct

Defendants to implement a policy that prevents officers from answering complaints against

them. (PageID # 9.) Finally, Plaintiff evidently requests an order directing Defendants to

expunge from his prison record the assault finding. (PageID # 7.)

                                       DISCUSSION

       In his complaint, Plaintiff alleges that (1) he was denied due process in connection

with a disciplinary sanction of 10 days in segregation; (2) the grievance/complaint system

at the Androscoggin County Jail is flawed because officers who are the subject of

Plaintiff’s complaints have reviewed and summarily denied his complaints; (3) Defendant

Farrinton has denied him the ability to work and earn related good time credit; (4)

corrections officers have verbally insulted him; (5) he has been punished for filing

complaints; and (6) he has been denied access to law materials, photocopies, and notary

services.

       1.     Denial of due process in disciplinary proceeding

       The Due Process Clause of the Fourteenth Amendment prohibits a state from

depriving a person of “life, liberty, or property, without due process of law.” U.S. Const.

amend. XIV, § 1. The analysis of a due process claim includes two issues. A court first

considers “whether there exists a liberty or property interest of which a person has been

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deprived,” and if so, it then considers “whether the procedures followed by the State were

constitutionally sufficient.” Swarthout v. Cooke, 562 U.S. 216, 219 (2011). “[T]he

processes required by the Clause with respect to the termination of a protected interest will

vary depending upon the importance attached to the interest and the particular

circumstances under which the deprivation may occur.”            Walters v. Nat’l Ass’n of

Radiation Survivors, 473 U.S. 305, 320 (1985).

       “[W]hile persons imprisoned for crime enjoy many protections of the Constitution,

it is also clear that imprisonment carries with it the circumscription or loss of many

significant rights.” Hudson v. Palmer, 468 U.S. 517, 524 (1984). With respect to the Due

Process Clause, “[a]s long as the conditions or degree of confinement to which the prisoner

is subjected is within the sentence imposed upon him and is not otherwise violative of the

Constitution, the Due Process Clause does not in itself subject an inmate’s treatment by

prison authorities to judicial oversight.” Montanye v. Haymes, 427 U.S. 236, 242 (1976).

       As an inmate in a state prison, Plaintiff’s liberty interest is limited to avoiding

conditions of confinement that impose an “atypical and significant hardship … in relation

to the ordinary incidents of prison life.” Sandin v. Conner, 515 U.S. 472, 484 (1995).

Where the deprivation of liberty does not rise to that level, the mere violation of prison

procedural policies by prison officials does not give rise to a constitutional violation. Id.

       Under the governing law, therefore, unless Plaintiff can demonstrate that he was

subjected to a sanction amounting to an atypical and significant hardship, Defendants’

failure to follow a particular hearing procedure would not offend the Due Process Clause

of the Constitution because Plaintiff, as a prisoner, would not have been deprived of a

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liberty interest. In his complaint, Plaintiff asserts that as the result of his inability to call

witnesses at the disciplinary hearing and review statements of witnesses and the victim, he

spent 10 days in segregation based on an assault charge. Absent extreme conditions, which

are not alleged here, such a short period in segregation does not amount to an atypical and

significant hardship. Id. at 486 (holding that 30 days in disciplinary segregation was not

an atypical and significant hardship). Because his time in segregation did not deprive

Plaintiff of a liberty interest, Plaintiff fails to allege sufficient facts to support a claim based

on the loss of a liberty interest protected by the Due Process Clause in the context of life

in the jail.

        2.     Improper grievance/complaint process

        Plaintiff asserts Defendants have not administered the grievance and disciplinary

proceedings properly. Contrary to Plaintiff’s allegations, a prisoner does not have a

constitutional right to a particular prison grievance procedure, or even a right to file a prison

grievance; rather, the Due Process Clause entitles prisoners to predeprivation process

whenever the state subjects them to an “atypical and significant hardship … in relation to

the ordinary incidents of prison life.” Sandin, 515 U.S. at 484; see also Flick v. Alba, 932

F.2d 728, 729 (8th Cir. 1991) (per curiam) (“[T]he prisoner’s right to petition the

government for redress is the right of access to the courts, which is not compromised by

the prison’s refusal to entertain his grievance.”); Charriez v. Sec’y, Florida Dep’t of Corr.,

596 F. App’x 890, 895 (11th Cir. 2015) (unpublished) (“Because the prison grievance

procedure does not create a protected liberty interest, Charriez does not have a federal

constitutional right within that administrative-grievance procedure.”); Von Hallcy v.

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Clements, 519 F. App’x 521, 523 (10th Cir. 2013) (unpublished) (“Von Hallcy cannot state

a due process claim based on allegations of an ineffective grievance reporting

system.”); Brown v. Graham, 470 F. App’x 11, 13 (2d Cir. 2012) (“Brown’s argument that

he has a federally-protected liberty interest in the state’s compliance with its own prison

grievance procedures is meritless.”); Butler v. Brown, 58 F. App’x 712 (9th Cir.

2003) (“[A] prisoner has no constitutional right to prison grievance procedures.”); Young

v. Gundy, 30 F. App’x 568, 569 – 70 (6th Cir. 2002) (unpublished) (“[T]here is no inherent

constitutional right to an effective prison grievance procedure.”). Because prison grievance

procedures are not mandated or governed by the Constitution or other federal law, Plaintiff

has not and cannot assert an actionable federal claim based on Defendants’ administration

of the grievance/complaint process.

       3.     Denial of work and related good time credit

       Plaintiff does not have a liberty interest in prison employment, even if the

employment enables him to accrue good time at an accelerated rate. See, e.g., Dominique

v. Weld, 73 F.3d 1156, 1160 (1st Cir. 1996) (applying Sandin to uphold dismissal of

prisoner’s claim that his four-year participation in a work release program had given rise

to a liberty interest and citing, inter alia, Bulger v. United States Bureau of Prisons, 65 F.3d

48, 49 – 50 (5th Cir. 1995) (inmate terminated from a prison job permitting the automatic

accrual of good-time credits lacked a protected liberty interest, despite apparent violation




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of a state regulation)).2 Consequently, Plaintiff’s allegations regarding the denial of

participation in the work program do not assert an actionable federal claim.

         4.     Verbal insults

         Verbal insults and offensive comments do not violate the constitution or give rise to

a federal claim. “The First Circuit has established that ‘[f]ear or emotional injury which

results solely from verbal harassment or idle threats is generally not sufficient to constitute

an invasion of an identified liberty interest.’” Badger v. Correct Care Sols., No. 1:15-CV-

00517-JAW, 2016 WL 1430013, at *4, 2016 U.S. Dist. LEXIS 48130, at *6 (D. Me. Apr.

11, 2016) (quoting Pittsley v. Warish, 927 F.2d 3, 7 (1st Cir. 1991), abrogated on other

grounds, Martinez v. Cui, 608 F.3d 54 (1st Cir. 2010)). See also Siglar v. Hightower, 112

F.3d 191, 193 (5th Cir. 1997) (“It is clear that verbal abuse by a prison guard does not give

rise to a cause of action under § 1983.”). The insults alleged by Plaintiff (that he is a

“manipulator,” “predator,” and “rapist dirtbag”) do not give rise to a federal claim.

         5.     Threats related to frivolous complaints

         To state a claim of first amendment retaliation, an inmate must allege (1) that the

inmate engaged in conduct protected by the First Amendment; (2) that the defendant took

adverse action against the inmate because of the protected conduct; and (3) that the adverse

action was more than de minimis, i.e., was sufficient to deter an inmate of ordinary firmness

from exercising his or her first amendment rights. Hannon v. Beard, 645 F.3d 45, 48 (1st


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  When accrued good time is at stake, a liberty interest is recognized, but a prisoner must assert his due
process claim in the context of a habeas corpus petition or state proceeding before bringing a § 1983 due
process claim. DeWitt v. Wall, No. 04-1531, 121 Fed. App’x 398, 399 (1st Cir. Dec. 30, 2004)
(unpublished) (citing, inter alia, Edwards v. Balisok, 520 U.S. 641, 646 (1997); Portley–El v. Brill, 288
F.3d 1063, 1066 (8th Cir. 2002)).

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Cir. 2011); Davis v. Goord, 320 F.3d 346, 352 (2d Cir. 2003); Thaddeus-X v. Blatter, 175

F.3d 378, 398 (6th Cir. 1999). “[T]his objective test applies even where a particular

plaintiff was not himself subjectively deterred; that is, where he continued to file

grievances and lawsuits.” Gill v. Pidlypchak, 389 F.3d 379, 381 (2d Cir. 2004); see

also Ayotte v. Barnhart, 973 F. Supp. 2d 70, 82 (D. Me. 2013).

       In this Circuit, the filing of a prison grievance is considered protected

conduct. Hannon, 645 F.3d at 48 (“The plaintiff, in filing his own grievances and legal

actions, plainly engaged in protected activity.”); Hightower v. Vose, 95 F.3d 1146 (Table),

No. 95-2296, 1996 WL 516123, *1, 1996 U.S. App. LEXIS 24041, at *3 – 4 (1st Cir. Sept.

12, 1996). Nevertheless, to be protected under the First Amendment, a grievance must not

be frivolous. Perez v. Fenoglio, 792 F.3d 768, 783 (7th Cir. 2015); Herron v. Harrison,

203 F.3d 410, 415 (6th Cir. 2000); Lewis v. Guillot, 583 F. App’x 332, 333 (5th Cir. 2014).

       Several circuit courts of appeals have held that harassment and threats can constitute

the necessary adverse action.      Brodheim v. Cry, 584 F.3d 1262, 1270 (9th Cir.

2009); Thaddeus-X, 175 F.3d at 398; Burgess v. Moore, 39 F.3d 216, 218 (8th Cir.

1994); Ford v. Palmer, 539 Fed.Appx. 5, 7 (2d Cir. 2013). Harassment, however, is not

always actionable. Brown v. Lewis, 865 F. Supp. 2d 642, 648 (E.D. Pa. 2011). For

example, a verbal insult alone does not constitute adverse action. Vincent v. Sitnewski, 117

F. Supp. 3d 329, 340 (S.D.N.Y. 2015) (citing inter alia Mateo v. Fischer, 682 F. Supp. 2d

423, 434 (S.D.N.Y. 2010) (collecting S.D.N.Y. cases concerning verbal threats)); Briggs

v. Wall, No. 1:09-cv-00456, 2009 WL 4884529, at *5, 2009 U.S. Dist. LEXIS 117294, at

*11 – 12 (D.R.I. Dec. 16, 2009) (“The alleged vague threat of future unspecified discipline

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... does not constitute ‘adverse action’”).3 See also Ellis v. Meade, 887 F. Supp. 324, 329

(D. Me. 1995) (“Verbal threats and name calling usually are not actionable under § 1983.”

(quoting McDowell v. Jones, 990 F.2d 433, 434 (8th Cir. 1993))). Death threats and threats

of serious physical harm, however, generally suffice. Evenstad v. Herberg, 994 F. Supp.

2d 995, 1001 (D. Minn. 2014) (concluding that the statement, “We’ll be ramping things

up,” was too vague to state a claim, where the complaint provided no context to give the

statement chilling effect, such as a “history of abuse or a pattern of threats” or an

accompanying “menacing gesture”).

        Here, Plaintiff alleges that when he filed a complaint against Defendant Farrinton

because Defendant Farrinton told Plaintiff he would not receive work through the

Androscoggin County Jail if the work would place him near women, Defendant Lieutenant

Feldman advised Plaintiff not to file frivolous complaints or Plaintiff would be placed in

segregation. Plaintiff also alleges that when he complained that Defendant Farrinton

denied him good time credit for work performed, Defendant Farrinton told Plaintiff the

complaint was frivolous, and threatened Plaintiff with disciplinary action if Plaintiff

continued to file such complaints. At some point,4 Plaintiff allegedly received a sanction

which barred him from participating in any work program.

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 The First Circuit Court of Appeals has not had many occasions to review adverse action found by a district
court to be de minimis in the context of a prisoner retaliation claim. In Starr v. Dube, the Court held that
an allegedly retaliatory disciplinary charge was not an adverse action where the record established that the
prisoner received a hearing before discipline would be imposed and was successful in overcoming the
charge. 334 Fed.Appx. 341 (1st Cir. 2009) (per curiam).
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  Plaintiff’s complaint can be construed to permit the inference that the alleged sanction barring him from
work was imposed after he complained about the denial of work-related good time credit. Additionally,
the allegation that Plaintiff initially participated in work activity at the Androscoggin County Jail and then
was denied participation suggests an intervening cause.

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       At this stage of the proceedings, Plaintiff’s grievance activity regarding the denial

of earned good time credit cannot be characterized as a non-frivolous matter and thus can

reasonably be considered as protected activity for purposes of a retaliation claim.

Additionally, the alleged denial of participation in all work activity for the balance of

Plaintiff’s sentence could constitute a sanction sufficient to deter an inmate of ordinary

firmness from exercising his or her first amendment rights, and the allegations otherwise

suggest a causal relationship between the protected conduct and the adverse action. See,

e.g., Milligan v. Archuleta, 659 F.3d 1294, 1296 (10th Cir. 2011) (concluding prisoner’s

claim that he lost his prison job in retaliation for filing grievance was not frivolous).

Plaintiff, therefore, has asserted sufficient facts to proceed on a first amendment retaliation

claim against Defendants Farrinton and Feldman.

       6.     Denial of law materials, photocopies, and notary services

       Plaintiff’s allegations regarding the denial of legal materials, photocopies and notary

services potentially implicate Plaintiff’s right of access to the courts. Prisoners have a right

under the United States Constitution to meaningful access to the courts. “The right of

access is a discrete, constitutional right, derived from various constitutional sources

[including] the due process clause, the privileges and immunities clause, and the First

Amendment.” Simmons v. Dickhaut, 804 F.2d 182, 183 (1st Cir. 1986) (per curiam)

(citations omitted). To state a claim for denial of access to the courts, a plaintiff cannot

merely allege that prison administrators have provided insufficient access to legal

materials. As explained by the Supreme Court in Lewis v. Casey, 518 U.S. 343 (1996), the

“role of the courts [is] to provide relief to claimants, … who have suffered, or will

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imminently suffer, actual harm.” Id. at 349. In other words, it is not the role of this Court

to dictate the amount of law library access or the number of photocopies prison

administrators must provide to prisoners; the Court’s responsibility is to address the claims

in which prisoners allege the existence of conditions that have actually denied or will

imminently deny “a reasonably adequate opportunity to present claimed violations of

fundamental constitutional rights to the courts.” Id. at 351 (quoting Bounds v. Smith, 430

U.S. 817, 825 (1977)). See also Bourdon v. Loughren, 386 F.3d 88, 92 (2d Cir. 2004).

       Plaintiff has not asserted that he has been denied the ability to assert any claim in

court as the result of Defendants’ conduct regarding legal materials, photocopies, or notary

public services. Plaintiff, therefore, has not asserted an actionable claim based on the

denial of access to the courts.

       7.     Plaintiff’s Claim for Injunctive relief

       In his motion for injunctive relief, Plaintiff requests an order directing Defendants

to change their procedures, to transfer him back to the Cumberland County Jail, and to

expunge the assault matter from his prison record.

       A preliminary injunction is “an extraordinary and drastic remedy that is never

awarded as of right.” Voice of the Arab World, Inc. v. MDTV Med. News Now, Inc., 645

F.3d 26, 32 (1st Cir. 2011) (quoting Munaf v. Geren, 553 U.S. 674, 689 – 90 (2008)). “The

dramatic and drastic power of injunctive force may be unleashed only against conditions

generating a presently existing actual threat; it may not be used simply to eliminate a

possibility of a remote future injury, or a future invasion of rights, be those rights protected

by statute or by the common law.” Holiday Inns of Am., Inc. v. B & B Corp., 409 F.2d 614,

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618 (3d Cir. 1969). Moreover, “judicial restraint is especially called for in dealing with

the complex and intractable problems of prison administration.” Rogers v. Scurr, 676 F.2d

1211, 1214 (8th Cir. 1982). See also 18 U.S.C. § 3626(a)(1)(A) (requiring that prospective

injunctive relief “extend no further than necessary” and afford only “the least intrusive

means necessary to correct the violation,” and that the court “give substantial weight to any

adverse impact on public safety or the operation of a criminal justice system caused by the

relief”).

       For the Court to consider the merit of Plaintiff’s request for injunctive relief,

Plaintiff first must demonstrate, inter alia, that he is likely to prevail on the claim asserted

in the complaint. Verizon New England, Inc. v. Maine Pub. Utilities Comm’n, 403 F. Supp.

2d 96, 102 (D. Me. 2005). While Plaintiff has asserted sufficient facts to support a plausible

retaliation claim, the record does not support a finding that Plaintiff is likely to prevail on

the claim.

       Furthermore, even if Plaintiff were to prevail on the retaliation claim, he would not

necessarily be entitled to the requested injunctive relief. Indeed, the Court does not have

cause to direct Defendants to implement any particular policies or practices regarding the

processing of prisoner complaints where the allegations do not involve an interest protected

by the Due Process Clause. Sandin, 515 U.S. at 484. Moreover, Plaintiff does not have a

right to be assigned to a particular correctional facility as he requests. Wilkinson v. Austin,

545 U.S. 209, 221 – 22 (2005) (“[T]he Constitution itself does not give rise to

a liberty interest in avoiding transfer to more adverse conditions of confinement”); Haymes,

427 U.S. at 242 (“The Clause does not require hearings in connection with transfers

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whether or not they are the result of the inmate’s misbehavior or may be labeled as

disciplinary or punitive.”); Meachum v. Fano, 427 U.S. 215, 225 (1976) (“Confinement in

any of the State’s institutions is within the normal limits or range of custody which the

conviction has authorized the State to impose”). In short, Plaintiff has failed to demonstrate

he is entitled to a preliminary injunction.

                                        CONCLUSION

       Based on the foregoing analysis, after a review pursuant to 28 U.S.C. § 1915(e)(2)

and 28 U.S.C. § 1915A(a), I recommend the Court dismiss all claims except Plaintiff’s

retaliation claim against Defendants Farrington and Feldman based on the denial of

participation in a work program. I further recommend the Court deny Plaintiff’s motion

for preliminary injunction.

                                          NOTICE

              A party may file objections to those specified portions of a magistrate
       judge's report or proposed findings or recommended decisions entered
       pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by the district
       court is sought, together with a supporting memorandum, within fourteen
       (14) days of being served with a copy thereof. A responsive memorandum
       shall be filed within fourteen (14) days after the filing of the objection.

              Failure to file a timely objection shall constitute a waiver of the right
       to de novo review by the district court and to appeal the district court's order.

                                              /s/ John C. Nivison
                                              U.S. Magistrate Judge

Dated this 2nd day of March, 2017.




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